             Case 5:16-cv-00806-LS Document 5 Filed 04/22/16 Page 1 of 3




William B. Recarde                                                                       Pro Se Litigants
Dorothy A. Recarde                                                                       (717) 529-6063
277 W. Shady Road                                                                 bill@summerbeam.com
Kirkwood PA 17536

                        IN THE UNITED STATES DISTRICT COURT
                                                           for the
                                               Eastern District of Pennsylvania

William B. Recarde                                        )
Dorothy A. Recarde                                        )
                             Plaintiffs, Sui Juris        )
                                                          )       Civil Action No: 16-cv-806
                 v.                                       )

SANTANDER BANK, N.A. fl
                                                          )
                                                          )
                                                                                                   F6LED
SOVEREIGN BANK, N.A.                                      )                                       APR 2 2 2016
                                                           )
                           DEFENDANTS                                                          ~CHAEL E. KUNZ, Clerk
                                                                                                 --=--Dep. Clerk


                                   PRAECIPE TO WITHDRAW COMPLAINT

To the Clerk of the Court:




                                                 ACKNOWLEDGEMENT

Commonwealth of Pennsylvania)
                            ) SS
County of Lancaster         )
                   /_
   On this _d1!_ day of April, 2016, before me, the undersigned notary public, appeared William
B. and Dorothy A. Recarde, known to me or proved to be the persons who affixed their
signatures to this instrument and by so doing, executed the instrument.
   I certify the above paragraph is true and correct.

  WITNESS my Hand and Seal:

       COMMONWEALTH OF llENNSYLVANlft
                      !\lotarial Seal
           Marcia Mahoney, Notary Public
          Quarryville Bora, Lancaster county
         My Commission Expires Sept 29, 2016
     MEMBER, PENNSYLVAN!A AS'iOGATION OF NOTARIES
                   Case 5:16-cv-00806-LS Document 5 Filed 04/22/16 Page 2 of 3




 William B. Recarde                                                                                Pro Se Litigants
 Dorothy A. Recarde                                                                                (717) 529-6063
 277 W. Shady Road                                                                          bill@summerbeam.com
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                               IN THE UNITED STATES DISTRICT COURT
                                                                   for the
                                                   Eastern District of Pennsylvania

 William B. Recarde                                           )
 Dorothy A. Recarde                                           )
                                   Plaintiffs, Sui Juris      )
                                                              )              Civil Action No: 16-cv-806
                        v.                                    )
                                                              )
 SANTANDER BANK, N.A. fl                                      )
 SOVEREIGN BANK, N.A.                                         )
                                                               )
                                   DEFENDANTS



                                       PRAECIPE TO DISCONTINUE AND END

 To the Clerk of the Court:

 Kindly mark this instant matter discontinued and ended.

 Signed on this           2ffday of~ 2016.


                                                     ACKNOWLEDGEMENT

 Commonwealth of Pennsylvania)
                             ) SS
 County of Lancaster         )

                        '--
    On this drJ day of April, 2016, before me, the undersigned notary public, appeared William
 B. and Dorothy A. Recarde, known to me or proved to be the persons who affixed their
 signatures to this instrument and by so doing, executed the instrument.
    I certify the above paragraph is true and correct.

    WITNESS my Hand and Seal:
 •.:OMMONWEAlTH Of PENl\ISYLVANlfi
                 llJotarial Sea1
      Marcia Mahoney, Notary Public
     Quarryville Soro, Lancaster County
    My Commission Expires Sept. 29, 2016
MEMBER, PENl':SYt VAWA ~c;c;nrTA1TON OF NOTARIES
      Case 5:16-cv-00806-LS Document 5 Filed 04/22/16 Page 3 of 3




                                                                       16-cv-806


                                      CERTIFICATE OF SERVICE

 I, Dorothy A. Recarde, do solemnly declare that on Q~ 0(0, 2016, I did
 cause to be delivered by certified mail a package to thf;arties and locations listed
 below:

~-            &CffiAch_
DorothY Aezarde, Executor

 TO: Ken S. Massey                                         7015 0640 0006 2118 3253
     Parker Ibrahim & Berg LLC
     1635 Market St.
     Philadelphia, PA 19103

                                        ACKNOWLEDGEMENT

 Commonwealth of Pennsylvania}
                             } SS
 County of Lancaster         }

         Subscribed and sworn to (or affirmed) before me on this c2a J._ day of
    tf.IA-/.{,,        , 2016, by           i2e-tK-f1$ a
                                                6fic 4A-dL                        ,
 proV:d to me on the basis of satisfactoryidence to be the person who appeared
 before me and to have packaged the foregoing documents listed in the certificate
 of mailing above to the party listed therein.

                                                  '-nt~l-4._ JrLrz._/z_c ~
                                                    Notary Public


 MEMBER, PENNSYLVAN!P. llSSOClATION
